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DE|AN STANKOV
23403 Bricl< Hearth Circle
Clark_sburg MD 20871,
, Piaintiff
V .
PNC BANK, NATiONAL ASSOC!ATIQN `
249 F!FTH AVENUE
P|TTSBURGH, PA 15222 - 2707

Defendant.

 

 

 

CON|PLNNT_ FOR DECLARATORY JUDGMENT

1. Plaintiff is a resident of Montgcmery_€ounty. Nlaryland, residing at the above
captioned address ~

2. Defendant does business in Montgom_ery County, M_aryland.
FACTS CO|VIMON TO ALL COUNTS

3. Plaintiff's home at 23403 Brick Hearth Circle, Clarksburg NlD is subject to a first
deed of trust being serviced by PNC Mortgage, a subsidiary of defendant

4. Du_e to plaintist personal financial condition, on or about May 17, 2010l he
applied for a reduction in his monthly mortgage payment under the Home
Affordable Nlod'riication Program (“HAMP"), a federal program created as part of

the l\)ial<ing Home Atiorclable Program (“MHAP”_) in February 2009.

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5. in order to be considered for HAMP and a reduction in plaintist monthly
mortgage paymentl he completed and provided to defendant all required forms
and informationl

6. On .luly 10, 2010, defendant notified plaintiff that he had qualified for participation
in HAMP. A copy ofthe notification letter is attached as Exhibit t.

7. As the condition of participation in HAMP, defendant stated in the letter that -
plaintiff was'required to make three timely test payments on his mortgage at the `
reduced rate of $2,61_5.95 for three months beginning August 1, 2010.

8. Plaintiff made all three payments within the times prescribed by defendantl

9.- After making all of the required three payments on iime, plaintiff received a letter
from defendant dated october 7, 2010 withdrawing the approval given in the
letter of July 'lti, 2010. The stated reason for the reversal of the prior approval

_ was that the guarantor of the loan would not approve the loan modification A
copy of the October 7 letter is attached as exhibit 2. n

10.After inquiry by plaintiff, defendant Wrote to him on October 29, 2010, listing
entirely different reasons t'or the change There no longer was any reference to
the guarantor of the loan; instead, defendant now claimed plaintist income,
When compared to his expenses precluded his qualiiicationl A copy of the
October 29 letter is attached as exhibit 3.

11.The relevant figures contained in the October 27 letter were incorrect The letter
claimed plaintiffs “Nei:“ income was $8,676.76, which would have given him a
ratio under the HAlVlP guidelines that exceeded the maximum income ratio of

1.2. An additional error contained in the letter was the allegation that the monthly

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payment listed, $2,619.22 was the amount plaintiff paid for principal and interest
on the loan. ln fact, that payment Was for interest only.

12.`fhe errors in calculation were told to defendant in a letter dated Novernber 9,
2010 from plaintist counsel, irwin l-l- Liptz, Esquire, to defendant _A copy of the
Novernber 9 letter is attached as Exhlbit 4.

13.0n December 23, 2010, defendant responded to the letter- from lvlr. Liptz, again
refusing to alter their decision reversing their original approva|. A copy of the
Decernber 23 letter is attached as Exhibit 5.

14. On .lanuary 13, 2011 , lvir. Liptz responded to the December 23, 2010 letter.
pointing out the continuing errors of calculation by defendant Defendant, in that
letter was also advised that the ratio they were apparently relying on was note
part of the MHAP regulations and, in fact, was so arbitrary, that lt Would be
impossible to meet the ratio requirement A copy of the January 13, 2011 letter
is attached as Exhibit 6. l

15.By letter dated lvlaroh 31, 2011, defendant notified plaintiff that defendant lt was
initiating foreclosure proceedings and referring the matter to its foreclosure

counsel. A copy of the lvlarch 31, 2011 letter is attached as Exhibit 7.

‘ 16. By letter dated April 14, 2011, defendants foreclosure counsel, wrote plaintiff it

had been instructed to begin foreclosure proceedings A copy of the April 14

letter is attached as Exhibit 8.

COUNT 1 - DECLARATORY JUDGMENT

_'l?-.-Plaintiff manages-paragraphs3~through 16.

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18.Plaintiff has complied with all requirements to be accepted into HAMP and meets

all required criteria.

WHEREFORE, plaintiff requests this court to issue a Declaratory Judgrnent
declaring plaintiff is eligible and qualified for acceptance into HAMPwith the judgment

specifically stating:

a. That plaintiff fully qualifies for acceptance in HAMP;
b. That the effective date of is acceptance _in HAllllP is Ootober, 2010 with the
interest rate in effect at that time; and
' c. That defendant be instructed to remove all negative credit references n

occasioned by the wrongful denial of acceptance into HAMP

COUNT 2 - BREACH OF CONTRACT

19.Plaintiff realleges paragraphs 3 through 16.
20. Plaintiff relied to his detriment on defendant's ietteraccepting hirn into the l-lAlVlP
by making the three test payments in a timely manner as required by defendant
21.Detendant’s revoking their approval constitutes a breach of contract due to
l detrimental reliance
22. Defendant's breach of contract has damaged plaintiff by clouding the title to his

home, damagedI his credit ratingl and caused him to incur counsel fees.
WHEREFORE, plaintiff demands judgment against plaintiff in the amount of One

i\rlil|ion Do|lars ($1,00.0,000.00), plus costs.

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JURY DEMAND
Plaintifi demands trial by jury on all jury demandable issuesl

Respectfully submitted,`

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